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              Exhibit 1
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                                                     22739

Lachman, Matthew

From:                Lachman, Matthew
Sent:                Thursday, March 20, 2025 3:25 PM
To:                  Kurschner, Tatiana; McLennan, Mark C.; Lane, Jackson T.; #KEModernaSpikevaxService; Jack
                     Blumenfeld (jblumenfeld@morrisnichols.com); Travis J. Murray (tmurray@morrisnichols.com);
                     began@morrisnichols.com
Cc:                  Arbutus_MoFo; Genevant Team; Karen Keller; Nate Hoeschen
Subject:             RE: Genevant v. Moderna - Expert Dep Scheduling


Thanks Tatiana. We will confer with our client and get back to you.


Matthew W. Lachman
Williams & Connolly LLP
680 Maine Avenue SW, Washington, DC 20024
202‐434‐5249 | vcard | www.wc.com/mlachman

From: Kurschner, Tatiana <tatiana.kurschner@kirkland.com>
Sent: Thursday, March 20, 2025 1:55 PM
To: Lachman, Matthew <MLachman@wc.com>; McLennan, Mark C. <mark.mclennan@kirkland.com>; Lane, Jackson T.
<JLane@mofo.com>; #KEModernaSpikevaxService                                               ; Jack Blumenfeld
(jblumenfeld@morrisnichols.com) <jblumenfeld@morrisnichols.com>; Travis J. Murray (tmurray@morrisnichols.com)
<tmurray@morrisnichols.com>; began@morrisnichols.com
Cc: Arbutus_MoFo                               ; Genevant Team                           Karen Keller
<kkeller@shawkeller.com>; Nate Hoeschen <nhoeschen@shawkeller.com>
Subject: RE: Genevant v. Moderna ‐ Expert Dep Scheduling

Matt,

We disagree that Moderna should have raised the need for a changed schedule at an earlier date. Even though the
schedule only required the parties to disclose deposition dates next Monday, March 24, Moderna was proactive in
reaching out nearly a month before this deadline to begin deposition scheduling and avoid delays in the schedule.
Moderna also identified the need to reschedule the letter and hearing dates for proposed Daubert and SJ grounds at
that time.

While Moderna had hoped to make the scheduled letter and hearing dates work, a conflicting trial date required us to
move certain deposition dates that now come into conflict with the schedule for the Daubert/SJ letter and hearing. As
you know, the parties have been reasonable to date in accommodating and working together to resolve scheduling
conflicts, and we are disappointed at Plaintiffs’ unwillingness to do so here.

We can’t agree to Plaintiffs’ compromise because the deadlines for the letter and hearing still fall before the end of
expert depositions, which, as previously discussed may impact or obviate the grounds parties are proposing to move
on. As a proposed compromise, Moderna suggests moving the deadline for the Daubert/SJ letter to May 2 and the
scheduled hearing to May 7. Please provide Plaintiffs’ position on this proposal by the end of day today.

Regards,
Tatiana

Tatiana Kurschner*
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----------------------------------------
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601 Lexington Avenue, New York, NY 10022
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F +1 212 446 4900
----------------------------------------
tatiana.kurschner@kirkland.com

*JD, Not Admitted



From: Lachman, Matthew <MLachman@wc.com>
Sent: Thursday, March 20, 2025 12:18 PM
To: Kurschner, Tatiana <tatiana.kurschner@kirkland.com>; McLennan, Mark C. <mark.mclennan@kirkland.com>; Lane,
Jackson T. <JLane@mofo.com>; #KEModernaSpikevaxService                                              >; Jack
Blumenfeld (jblumenfeld@morrisnichols.com) <jblumenfeld@morrisnichols.com>; Travis J. Murray
(tmurray@morrisnichols.com) <tmurray@morrisnichols.com>; began@morrisnichols.com
Cc: Arbutus_MoFo                                ; Genevant Team                        >; Karen Keller
<kkeller@shawkeller.com>; Nate Hoeschen <nhoeschen@shawkeller.com>
Subject: RE: Genevant v. Moderna ‐ Expert Dep Scheduling
Tatiana, Moving the hearing as you suggest would be prejudicial, as it would dramatically reduce the time Plaintiffs have to adjust to the Court’s rulings before the deadline to submit summary judgment and Daubert motions. The parties have known




Tatiana,

Moving the hearing as you suggest would be prejudicial, as it would dramatically reduce the time Plaintiffs have to
adjust to the Court’s rulings before the deadline to submit summary judgment and Daubert motions. The parties have
known about the overlap between expert discovery and the letter and hearing dates for months—if that overlap
presented a problem, Moderna could have, and should have, raised the need for a change promptly. It did not.

In an effort to reach an accommodation, Plaintiffs would agree—subject to the Court’s approval—to move date the
letter is due. We would propose April 22, but are open to considering alternatives proposed by Moderna.

Best,

Matt

Matthew W. Lachman
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From: Kurschner, Tatiana <tatiana.kurschner@kirkland.com>
Sent: Wednesday, March 19, 2025 7:32 PM
To: Lachman, Matthew <MLachman@wc.com>; McLennan, Mark C. <mark.mclennan@kirkland.com>; Lane, Jackson T.
<JLane@mofo.com>; #KEModernaSpikevaxService                                               ; Jack Blumenfeld
(jblumenfeld@morrisnichols.com) <jblumenfeld@morrisnichols.com>; Travis J. Murray (tmurray@morrisnichols.com)
<tmurray@morrisnichols.com>; began@morrisnichols.com
Cc: Arbutus_MoFo                                Genevant Team                           ; Karen Keller
<kkeller@shawkeller.com>; Nate Hoeschen <nhoeschen@shawkeller.com>
Subject: RE: Genevant v. Moderna ‐ Expert Dep Scheduling

Matt,

Regarding Moderna’s proposal to move the deadlines for the SJ/Daubert letter and hearing, we are disappointed
Plaintiffs would not agree to this modest extension, and your email does not identify any real prejudice.

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We are not certain whether Plaintiffs’ Delaware counsel was able to join the parties’ March 5 meet‐and‐confer on this
issue, but we assume based on your email below that this is Plaintiffs’ final position after conferring with your Delaware
counsel. If that is not the case, please let us know by 2pm ET tomorrow so that our respective Delaware counsel can
confer.

Best,
Tatiana

Tatiana Kurschner*
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tatiana.kurschner@kirkland.com

*JD, Not Admitted



From: Lachman, Matthew <MLachman@wc.com>
Sent: Monday, March 10, 2025 3:09 PM
To: Kurschner, Tatiana <tatiana.kurschner@kirkland.com>; McLennan, Mark C. <mark.mclennan@kirkland.com>; Lane,
Jackson T. <JLane@mofo.com>; #KEModernaSpikevaxService                                             >; Jack
Blumenfeld (jblumenfeld@morrisnichols.com) <jblumenfeld@morrisnichols.com>; Travis J. Murray
(tmurray@morrisnichols.com) <tmurray@morrisnichols.com>
Cc: Arbutus_MoFo                                ; Genevant Team                          Karen Keller
<kkeller@shawkeller.com>; Nate Hoeschen <nhoeschen@shawkeller.com>
Subject: RE: Genevant v. Moderna ‐ Expert Dep Scheduling
Tatiana, We can accept 4/28 for Dr. Anderson. As we understand it, the agreed‐upon schedule is thus: 3/27 – Rutherford (SF) 4/1 – Benton (DC) 4/4 – Brill (DC) 4/9 – Meulien (NY) 4/11 – Schuster (DC) 4/11 – Porter (DC) 4/16 – Prud’homme (NY)




Tatiana,

We can accept 4/28 for Dr. Anderson. As we understand it, the agreed‐upon schedule is thus:

3/27 – Rutherford (SF)
4/1 – Benton (DC)
4/4 – Brill (DC)
4/9 – Meulien (NY)
4/11 – Schuster (DC)
4/11 – Porter (DC)
4/16 – Prud’homme (NY)
4/17 – Godshalk (DC)
4/18 – Vellturo (NY)
4/22 – Murthy (SF)
4/24 – Pitts (DC)
4/25 – Fenton (NY)
4/28 – Anderson (Boston)
4/30 – Lawton (DC)
4/30 – Mitchell (DC)

We have discussed with our client and cannot agree to move the SJ/Daubert hearing. The Court ordered a schedule that
required the parties to submit letters well in advance of the end of expert discovery, and which set the hearing prior to
the end of expert discovery as well. Given the short expert discovery period and the likely number of experts, it was
inevitable that there would be depositions after both the letter and hearing dates (which the Court would have


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known). Yet Moderna did not raise any objection with Plaintiffs or the Court for over six months. There is thus not good
cause to change the Court‐ordered schedule or to impinge on the Court’s schedule for a different hearing date.

Moreover, almost all of the depositions will be completed prior to the hearing date, and only a few depositions have
been scheduled after the close of expert discovery—and 2/3 of those were at Moderna’s request. There is thus no
prejudice from keeping the existing schedule. By contrast, moving the hearing date so close to the deadline for
SJ/Daubert motions, as Moderna suggests, would be prejudicial.

Best,

Matt

Matthew W. Lachman
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202‐434‐5249 | vcard | www.wc.com/mlachman

From: Kurschner, Tatiana <tatiana.kurschner@kirkland.com>
Sent: Monday, March 10, 2025 9:18 AM
To: Lachman, Matthew <MLachman@wc.com>; McLennan, Mark C. <mark.mclennan@kirkland.com>; Lane, Jackson T.
<JLane@mofo.com>; #KEModernaSpikevaxService                                               ; Jack Blumenfeld
(jblumenfeld@morrisnichols.com) <jblumenfeld@morrisnichols.com>; Travis J. Murray (tmurray@morrisnichols.com)
<tmurray@morrisnichols.com>
Cc: Arbutus_MoFo                               ; Genevant Team                          ; Karen Keller
<kkeller@shawkeller.com>; Nate Hoeschen <nhoeschen@shawkeller.com>
Subject: RE: Genevant v. Moderna ‐ Expert Dep Scheduling

Matt,

Moderna can accept the remaining dates below, assuming Plaintiffs agree to move the SJ/Daubert letter and hearing
deadlines:
   •       Brill – 4/4
   •       Porter – 4/11
   •       Pi s – 4/24
   •       Mitchell – 4/30

We are able to make Rutherford available on 03/27 as requested, still at the Kirkland SF office. Unfortunately, due to
Anderson’s busy teaching schedule, he will not be available on a date earlier than 4/21. We understand this date still
does not work for Plaintiffs. He is available 4/28 at Kirkland Boston. Please confirm whether this works as soon as
possible.

Please let us know today Plaintiffs’ position about the SJ/Daubert letter and hearing deadlines.

Best,
Tatiana


Tatiana Kurschner*
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F +1 212 446 4900

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